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 7

 8                                        UNITED STATES DISTRICT COURT

 9                             FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                           No. 1:16-CR-00122-DAD-BAM

12                           Plaintiff,

13             v.                                         PRELIMINARY ORDER OF FORFEITURE

14    GABRIEL ESPARZA,

15                           Defendant.

16

17           Based upon the plea agreement entered into between United States of America and

18   defendant Gabriel Esparza, it is hereby ORDERED, ADJUDGED AND DECREED as follows:

19           1.        Pursuant to 21 U.S.C. § 853(a), defendant Gabriel Esparza’s interest in the

20   following property shall be condemned and forfeited to the United States of America, to be

21   disposed of according to law:

22                     a. Colt 1911 45 caliber pistol, serial number 268968, and

23                     b. Any and all ammunition seized in this case.

24           2.        The above-listed assets constitute property derived from, any proceeds the

25   defendant obtained, directly or indirectly, or was property used, or intended to be used, in any

26   manner or part, to commit, or to facilitate the commission of a violation of 21 U.S.C. § 841(a)(1)

27   and (b)(1)(A)(viii).

28           3.        Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be authorized
     PRELIMINARY ORDER OF FORFEITURE                     1
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 1   to seize the above-listed property. The aforementioned property shall be seized and held by the

 2   Bureau of Alcohol, Tobacco Firearms and Explosives in its secure custody and control.

 3          4.      a.       Pursuant to 21 U.S.C. § 853(n), and Local Rule 171, the United States shall

 4   publish notice of the order of forfeiture. Notice of this Order and notice of the Attorney

 5   General’s (or a designee’s) intent to dispose of the property in such manner as the Attorney

 6   General may direct shall be posted for at least 30 consecutive days on the official internet

 7   government forfeiture site www.forfeiture.gov. The United States may also, to the extent

 8   practicable, provide direct written notice to any person known to have alleged an interest in the

 9   property that is the subject of the order of forfeiture as a substitute for published notice as to those

10   persons so notified.

11                  b.       This notice shall state that any person, other than the defendant, asserting

12   a legal interest in the above-listed property, must file a petition with the Court within sixty (60)

13   days from the first day of publication of the Notice of Forfeiture posted on the official

14   government forfeiture site, or within thirty (30) days from receipt of direct written notice,

15   whichever is earlier.

16          5.      If a petition is timely filed, upon adjudication of all third-party interests, if any,

17   this Court will enter a Final Order of Forfeiture pursuant to 21 U.S.C. § 853(a), in which all

18   interests will be addressed.

19   IT IS SO ORDERED.
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        Dated:     September 27, 2018
21                                                       UNITED STATES DISTRICT JUDGE

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